         Case 1:15-cv-10326-FDS Document 43 Filed 07/26/17 Page 1 of 1




               United States Court of Appeals
                               For the First Circuit
                                  _____________________

No. 15-2354
                                     JUDITH SHAULIS,

                                     Plaintiff, Appellant,
                                               v.

                     NORDSTROM, INC., d/b/a/ NORDSTROM RACK,

                                    Defendant, Appellee.
                                    __________________

                                        JUDGMENT

                                    Entered: July 26, 2017

        This cause came on to be heard on appeal from the United States District Court for the
District of Massachusetts and was argued by counsel.

      Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
judgment of the district court is affirmed.


                                                   By the Court:

                                                   /s/ Margaret Carter, Clerk

cc:
S. James Boumil
Konstantine W. Kyros
John P. Bueker
Julie V. Silva Palmer
Rebecca C. Ellis
Joseph Duffy
Dylan John Price
Phillip Craig Cardon
